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 9
                               UNITED STATES DISTRICT COURT
10                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                     WESTERN DIVISION
11

12     BROIDY CAPITAL MANAGEMENT LLC                              Civil Case No.:
       and ELLIOTT BROIDY
13                                                                2:18-CV-02421-JFW-(Ex)
14           Plaintiffs,

15                                                                MEMORANDUM OF POINTS AND
             v.
                                                                  AUTHORITIES IN SUPPORT OF
16                                                                DEFENDANT STATE OF QATAR’S
       STATE OF QATAR, STONINGTON
17                                                                MOTION TO DISMISS PURSUANT
       STRATEGIES LLC, NICOLAS D.
                                                                  TO RULES 12(b)(1) AND 12(b)(2) OF
18     MUZIN, GLOBAL RISK ADVISORS
                                                                  THE FEDERAL RULES OF CIVIL
       LLC, KEVIN CHALKER, DAVID MARK
19                                                                PROCEDURE
       POWELL, MOHAMMED BIN HAMAD
20     BIN KHALIFA AL THANI, AHMED AL-
       RUMAIHI, and DOES 1-10,                                    [Filed Concurrently with Notice of
21                                                                Motion and Motion to Dismiss; Request
22           Defendants.                                          for Judicial Notice; Proposed Order]
23                                                                Hearing Date: July 30, 2018
24                                                                Time: 1:30 p.m.
                                                                  Courtroom: 7A
25                                                                Judge: Hon. John F. Walter
26
                                                                  Complaint Filed: March 26, 2018
27                                                                Amended Complaint: May 24, 2018
28

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 1                                             INTRODUCTION
 2            The State of Qatar (“Qatar”) is immune from this lawsuit. Plaintiffs seek to
 3     interfere with Qatar’s legitimate pursuit of diplomatic, foreign policy, and national
 4     security interests. This is precisely the kind of intrusion into the affairs of sovereign
 5     nations that the Foreign Sovereign Immunities Act of 1976 (“FSIA” or the “Act”) was
 6     designed to prevent.
 7           The FSIA reflects Congress’s sound judgment that, in order to protect the
 8     immunity necessary for the United States and its officials to operate effectively abroad,
 9     foreign nations must be given reciprocal immunity here. Based on that judgment, the Act
10     deprives United States courts of their jurisdiction over foreign sovereigns. This is
11     particularly vital in cases such as this one, in which private plaintiffs attempt to use the
12     courts to pursue unsubstantiated allegations against sovereign states. The protections of
13     the FSIA are even more important in the case of a close ally such as Qatar, which hosts
14     strategically important military installations where United States service men and women
15     work and live.
16           Allowing private plaintiffs to hale foreign sovereigns into court also undermines
17     the exclusive authority of the Executive Branch to conduct diplomacy. That interest is
18     heightened here, where Plaintiffs’ previous attempts to exert improper influence over
19     U.S. foreign policy are a matter of public record—and the same agenda that they now
20     seek to advance through impermissible litigation.
21           In recognition of these fundamental principles, the FSIA establishes that the
22     immunity of a foreign sovereign is the rule and litigation is the exception. The
23     exceptions to immunity set forth in the FSIA are triggered by only a handful of narrow
24     factual circumstances, and it is Plaintiffs’ burden to establish that those circumstances
25     exist. Despite two attempts to meet that burden, Plaintiffs’ complaint fails to establish
26     any exception to sovereign immunity.
27           First, Plaintiffs have invoked the FSIA’s non-commercial tort exception
28     notwithstanding their own factual allegations and expert testimony that, if credited,
                                                         1
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 1     establish that each cause of action is a transnational tort. Courts, including the Ninth
 2     Circuit, have repeatedly held that the non-commercial tort exception does not apply to
 3     torts where either the precipitating act or the alleged injury occurred outside the United
 4     States. Rather, under the “entire tort rule,” a foreign sovereign is entitled to immunity
 5     unless the entire tort alleged by the plaintiffs occurred in the United States. Plaintiffs
 6     have pled themselves out of the non-commercial tort exception by telling this Court
 7     repeatedly, including through expert testimony, that the alleged hacking at the heart of
 8     this case was executed in Qatar. All ten causes of action depend upon the acts that
 9     Plaintiffs steadfastly assert occurred in Qatar, and that is the end of this case.
10           Second, Plaintiffs have invoked the FSIA’s commercial activity exception. Setting
11     aside the absurdity of attempting to paint Qatar’s alleged acts as simultaneously non-
12     commercial and commercial, this theory fails. The commercial activity exception is
13     triggered in cases based on the commercial activity of a foreign state or on acts in
14     connection with such activity. By contrast, Plaintiffs’ case is based on alleged actions
15     that are decidedly noncommercial: an information and government relations campaign to
16     improve Qatar’s standing in the United States and a purported hacking operation to
17     discredit a known critic of Qatar’s state policies. Alleged contracts between Qatar and
18     other defendants do not trigger this exception because the rights Plaintiffs assert here
19     have nothing whatsoever to do with those agreements.
20           Finally, the FSIA’s jurisdictional bar requires dismissal of the First Amended
21     Complaint (“FAC”) in its entirety. Under directly applicable Supreme Court precedent, a
22     foreign sovereign’s immunity demands dismissal of the litigation as a whole when the
23     immune party is necessary under Federal Rule of Civil Procedure 19 and where its
24     sovereign interests would be undermined by allowing the case to continue. That is true
25     here. Given Plaintiffs’ demand for an injunction binding Qatar, Qatar’s absence from the
26     suit leaves the Court unable to provide the relief requested. And, as Qatar has
27     demonstrated, its interests remain at risk if the case is allowed to proceed against any of
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 1   the other defendants insofar as Qatar would have to repeatedly object and intervene to
 2   protect its state secrets and the inviolable records of its diplomatic mission.
 3         Plaintiffs Elliott Broidy and Broidy Capital Management brought this suit in an
 4   apparent attempt to deflect attention from Broidy’s well-documented misconduct,
 5   including his efforts to trade access to his political contacts for lucrative foreign security
 6   contracts. Plaintiffs’ case is built entirely on speculation and is replete with unsupported
 7   allegations that reflect their self-interested, anti-Qatar agenda.
 8         Because Plaintiffs fail to establish any statutory exception to Qatar’s presumptive
 9   immunity, the FSIA absolutely bars this lawsuit and deprives this Court of jurisdiction
10   over Qatar. The case should be dismissed in its entirety with prejudice.1
11                                    FACTUAL BACKGROUND 2
12   I.    Qatar Is a Key Strategic Partner of the United States in the Middle East.
13         Qatar and the United States have a longstanding relationship as allies. From its
14   strategically critical location in the Arabian Gulf, Qatar has assisted U.S. military efforts
15   in the region for decades, including in the campaign to eject Iraqi occupation forces from
16   Kuwait in 1991. Cong. Research Serv., R44533, Qatar: Governance, Security, and U.S.
17
     1
18     In order to bring these threshold jurisdictional issues to the Court expeditiously, Qatar
     submits the instant Motion solely pursuant to Fed. R. Civ. P. 12(b)(1) and (b)(2).
19   However, the FAC also fails to state a claim under Rule 12(b)(6), because its factual
     allegations do not suffice to establish that Qatar bears any responsibility for the alleged
20   hacking and because several of its causes of action fail to adequately plead the required
     elements.
21
     As explained in the Joint Statement Regarding Local Rule 7-3 Pre-Filing Conference on
22   this Motion, see Dkt. 109, Qatar sought Plaintiffs’ agreement to hold any Rule 12(b)(6)
     briefing in abeyance until the Court decides the threshold FSIA issues raised herein to
23   avoid the need to reach any issues unnecessarily. Plaintiffs did not agree to a bifurcated
     briefing schedule absent additional conditions which Qatar could not accept. Qatar thus
24   moves solely under Rules 12(b)(1) and 12(b)(2), but respectfully reserves the right to
     seek permission from the Court to file a separate motion under Rule 12(b)(6) in the event
25   this Motion is denied.
     2
       This factual background is based on the factual allegations contained in the FAC and
26   properly excludes “allegations that are merely conclusory, unwarranted deductions of
     fact, or unreasonable inferences.” In re Gilead Scis. Sec. Litig., 536 F.3d 1049, 1055 (9th
27   Cir. 2008) (citation omitted). It also includes readily available public record information.
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 1   Policy (2018) (Request for Judicial Notice in Support of State of Qatar’s Motion to
 2   Dismiss (“RJN”), Ex. A at Summary & p.15); S. Prt. 112-35, The Gulf Security
 3   Architecture: Partnership with the Gulf Cooperation Council (2012) (RJN, Ex. B at 15).
 4   In 1992, Qatar and the United States signed a Defense Cooperation Agreement, which
 5   was renewed for 10 years in December 2013. RJN, Ex. A at 15. In the period since the
 6   September 11 attacks, Qatar has been the sole regional home to a critical United States
 7   Air Force base housing thousands of American troops. Id.; see also RJN, Ex. B at 15. 3
 8         The governments of the United States and Qatar recently confirmed that the
 9   relationship between the two nations is “key to successfully combating terrorism,
10   countering violent extremism, and deterring external aggression.” Joint Statement of the
11   Inaugural United States–Qatar Strategic Dialogue, U.S. Dep’t of State (Jan. 30, 2018)
12   (RJN, Ex. C). 4 President Trump continues to highlight the importance of Qatari-U.S.
13   relations. On January 15, 2018, he “thanked the Emir for Qatari action to counter
14   terrorism and extremism in all forms” and discussed with the Emir ways the United
15   States and Qatar could “partner to bring more stability to the region, counter malign
16   Iranian influence, and defeat terrorism.” Readout of President Donald J. Trump’s Call
17   with Emir Tamim bin Hamad Al Thani of Qatar (Jan. 15, 2018) (RJN, Ex. E).
18         This litigation—and this Court’s potential exercise of jurisdiction over Qatar—
19   directly implicates this critical diplomatic and national security relationship. In turn, it
20   impacts Qatar’s other strategic foreign policy and national security objectives in the
21

22   3
       Since 2003, Qatar has also been the host of the forward headquarters of military forces
23   at U.S. Central Command. Overall, 10,000 U.S. troops are currently deployed in Qatar.
     Most are U.S. Air Force personnel at Al Udeid air base, participating in U.S. operations
24   such as Operation Inherent Resolve to combat the Islamic State organization in Iraq and
     Syria. RJN, Ex. A at 15.
     4
25     The Qatari-U.S. relationship also extends to broader economic cooperation. See, e.g.,
     U.S.-Qatar Trade Facts, U.S. Trade Rep., ustr.gov/countries-regions/europe-middle-
26   east/middle-east/north-africa/qatar (last visited June 27, 2018) (trade between the United
     States and Qatar has increased approximately three-fold from 2006 to 2016) (RJN, Ex.
27   D).
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 1   region—including the goal of ending a regional blockade imposed by Saudi Arabia, the
 2   United Arab Emirates (“UAE”) and other Middle Eastern countries—all of which are
 3   matters of the utmost sensitivity and at the core of Qatar’s sovereignty. In sum, this
 4   litigation, and related discovery, will implicate and jeopardize matters vital to the national
 5   and international security and diplomatic interests of Qatar, the United States, and other
 6   nations.
 7   II.   Plaintiff Elliott Broidy and the Alleged Hack.
 8         Among other well-publicized activities, Plaintiff Elliott Broidy is a businessman
 9   who has publicly opined on various geopolitical topics. As acknowledged in the articles
10   Broidy submitted in this litigation, Broidy also sought to obtain lucrative procurement
11   contracts in Saudi Arabia and the UAE by lobbying his U.S. government contacts on
12   behalf of those countries. Original Complaint, Dkt. 1 (“OC”), ¶ 6 (curiously, the
13   amended complaint omits any reference to these countries); see also, e.g., FAC ¶¶ 121,
14   138; Dkt. 31-9 (Declaration of Lee Wolosky ISO Plaintiffs’ TRO Application), Ex. 2.5
15         As coverage of Broidy’s far-reaching agenda in the Middle East grew, Broidy filed
16   this lawsuit, claiming that an unlawful and unauthorized intrusion into his personal and
17   company email servers led to the unfavorable publicity he has received. 6 The FAC
18   alleges that the “hack” began with simple “phishing” emails, disguised as Gmail security
19   alerts, sent to Mr. Broidy’s wife and his executive assistant on January 14, 2018. FAC
20

21   5
       The allegations in Plaintiffs’ prior representations and submissions to this Court remain
22   binding on Plaintiffs. See Bauer v. Tacey Goss, P.S., No. C 12-00876 JSW, 2012 WL
     2838834, at *3 (N.D. Cal. July 10, 2012) (allegations in original complaint are deemed
23   judicial admissions unless explained in the amended complaint); see also MGIC Indem.
     Corp. v. Weisman, 803 F.2d 500, 504 (9th Cir. 1986) (in ruling on a motion to dismiss, a
24   court may judicially notice documents previously filed by the Plaintiff); Andrews v.
     Metro N. Commuter R.R. Co., 882 F.2d 705, 707 (2d Cir. 1989). Additionally, the Court
25   may judicially notice the news articles referenced in the FAC and previously submitted
     by Plaintiffs to this Court. Tarantino v. Gawker Media, LLC, No. CV-14-603-JFW
26   (FFMx), 2014 WL 2434647, at *1 n.1 (C.D. Cal. Apr. 22, 2014) (Walter, J.).
     6
       Plaintiffs do not contend that any of the news coverage regarding Broidy’s misconduct
27   is false.
28

                                                         5
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 1   ¶¶ 97-100, 109-111. In response, Mr. Broidy’s wife and the executive assistant provided
 2   their usernames and passwords, which an unidentified third party allegedly then used to
 3   access the email accounts and remotely control those accounts via a Russian mail service
 4   called “mail.ru.”7 See id. Plaintiffs contend that the third party logged into Plaintiffs’
 5   email accounts on “thousands” of occasions, using different IP addresses. FAC ¶ 113.
 6   Plaintiffs argue that Qatar is the responsible party, because, among those thousands of
 7   logins, two allegedly came from an IP address registered to a computer located
 8   somewhere in Doha, Qatar. FAC ¶ 115. Plaintiffs’ forensic expert also has declared
 9   under oath that two connections to Plaintiffs’ systems occurred from the Doha, Qatar
10   address. Dkt. 31-5 (Declaration of J. Luke Tenery ISO Plaintiffs’ TRO Application),
11   ¶ 17.
12           Since filing the original complaint, Broidy has subpoenaed more than thirty
13   internet service providers and other internet companies, including the purported “Virtual
14   Private Networks” that Plaintiffs contend were used to mask the hacker’s true identity.
15   While the FAC lists these entities, it does not identify any relationship between them and
16   any of the Defendants. See, e.g., FAC ¶ 114.
17           Finally, in their FAC, Plaintiffs now also try to blame newly-named defendants
18   Sheikh Mohammed Bin Hamad Bin Khalifa Al Thani and Ahmed Al-Rumaihi for the
19   hack. But once again, they plead no specific facts that even remotely suggest that either
20   of these defendants were engaged in any unlawful hacking activity. Rather, Plaintiffs’
21   allegations about these individuals include only irrelevant material designed to inflame
22   the Court and smear their names in a public lawsuit. See, e.g., FAC ¶¶ 26-27, 56-61.
23           Plaintiffs’ effort to extrapolate some grand conspiracy from normal and legitimate
24   diplomatic and sovereign activity is wholly unsupported. Indeed, as this Court held in
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      Plaintiffs allege a similar hacking attempt on Broidy’s friend Joel Mowbray, which was
27   ultimately unsuccessful. FAC ¶¶ 101-108. Mr. Mowbray is not a party to this action.
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 1   denying a temporary restraining order, Plaintiffs have “failed to demonstrate a likelihood
 2   of success on the merits,” as they have not provided any “admissible evidence
 3   demonstrating that any of the defendants . . . are responsible for the unauthorized access
 4   of Plaintiffs’ email accounts or that any of the Defendants are in possession of or are
 5   responsible for disseminating the allegedly illegally-obtained emails and documents to
 6   various media outlets.” Dkt. 37, at 2-3.
 7          Plaintiffs amended the Complaint, but failed to cure any of these problems or
 8   include allegations that would bring this case within the narrow exceptions to the FSIA,
 9   despite receiving substantive document productions by internet service providers. The
10   paucity of Plaintiffs’ allegations reveal this action for what it is: a misguided attempt to
11   salvage a personal reputation and pursue Plaintiffs’ own geopolitical goals, in conflict
12   with core foreign sovereignty concerns and the attendant risks to both American foreign
13   policy and the bedrock principle of international comity.
14   III.   Plaintiffs’ Causes of Action Depend on Extraterritorial Conduct.
15          The locus of the actions giving rise to Plaintiffs’ tort claims is key to the
16   jurisdictional analysis under the FSIA. All ten of Plaintiffs’ causes of action arise out of
17   extraterritorial activity—in Qatar and other foreign countries—including allegations that:
18          •    “Defendant Powell . . . established GRA’s office [in Qatar] through a Gibraltar
19              subsidiary in October 2017 – just weeks prior to the commencement of the
20              attack on Plaintiffs.” FAC ¶ 5.
21          • “[T]he GRA Defendants introduced Defendant State of Qatar to cyber
22              mercenaries in various countries to coordinate technical aspects of the illegal
23              intrusion into Plaintiffs’ email server . . . .” Id. ¶ 7.
24          • “On February 14, 2018 and February 19, 2018, unlawful and unauthorized
25              connections originated from an IP address in Qatar. . . . These connections
26              revealed the actual location of a computer or computers accessing Plaintiff
27              BCM’s network from an IP address in Qatar.” Id. ¶ 115.
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 1         • Qatar “converted or disposed of Plaintiff’s property . . . by unlawfully
 2             accessing, or at a minimum receiving that property . . . and disseminating [it] to
 3             the media in the United States and abroad.” Id. ¶ 180.
 4         Plaintiffs submitted sworn expert witness testimony in support of their request for
 5   a temporary restraining order, confirming their theory that all alleged hacking activity
 6   originated from Qatar:
 7                Two mistakes or brief failures in the attacker’s IP address obfuscation
 8                techniques on February 14, 2018 and February 19, 2018 revealed another
                  foreign IP address, identified by Ankura after a detailed review of the
 9                unauthorized activity associated with the Netherlands and United Kingdom
10                IP addresses. That IP address is a Qatar source IP registered to a physical
                  location in Doha, Qatar. The nature of the Qatar IP discovery is consistent
11
                  with the attacker’s system configuration losing its obfuscation ability and
12                exposing the true origin of the attacker by mistake. This event is the
                  foundation of Ankura’s conclusion that individuals located in Qatar are
13
                  responsible for the unauthorized activity identified in logs.
14   Dkt. 31-5 ¶ 11; see also id. ¶ 17 (describing event that “exposed the Qatari origin on
15   February 14, 2018 and February 19, 2018”).
16         Thus, each of Plaintiffs’ causes of action indisputably is based on a precipitating
17   act that, under Plaintiffs’ own theory, occurred outside of the United States.
18                                         LEGAL STANDARD
19         Where a defendant challenges the legal sufficiency of the plaintiff’s jurisdictional
20   allegations pursuant to Federal Rules of Civil Procedure 12(b)(1) and (2) under the FSIA,
21   “the district court should take the plaintiff’s factual allegations as true and determine
22   whether they bring the case within any of the exceptions to immunity invoked by the
23   plaintiff.” Doe v. Holy See, 557 F.3d 1066, 1073 (9th Cir. 2009) (citing Rong v. Liaoning
24   Province Gov’t, 452 F.3d 883, 888 (D.C. Cir. 2006)); see also Leite v. Crane Co., 749
25   F.3d 1117, 1121 (9th Cir. 2014). However, the Court need not assume the truth of legal
26   conclusions merely because they are cast in the form of factual allegations, nor should it
27   accept as true allegations that are merely conclusory, unwarranted deductions of fact, or
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 1   unreasonable inferences. Cholla Ready Mix, Inc. v. Civish, 382 F.3d 969, 973 (9th Cir.
 2   2004); see also Bell Atl. Corp. v. Twombly, 550 U.S. 544, 557 (2007) (conclusory
 3   allegations based on nothing more than “information and belief” must be rejected at
 4   pleading stage).
 5         The FSIA provides “the sole basis” for obtaining jurisdiction over foreign
 6   countries in federal or state courts. Argentine Republic v. Amerada Hess Shipping Corp.,
 7   488 U.S. 428, 443 (1989). The FSIA establishes a fundamental rule that foreign
 8   sovereigns are not subject to the jurisdiction of United States courts unless a specific
 9   statutory exception to immunity applies. OBB Personenverkehr AG v. Sachs, 136 S. Ct.
10   390, 394 (2015) (citing Saudi Arabia v. Nelson, 507 U.S. 349, 355 (1993)); see also 28
11   U.S.C. § 1604. This important rule is rooted in diplomatic and international sensitivities
12   of the highest order. See, e.g., Bolivarian Republic of Venezuela v. Helmerich & Payne
13   Int’l Drilling Co., 137 S. Ct. 1312, 1319 (2017) (foreign sovereign immunity “recognizes
14   the absolute independence of every sovereign authority and helps to induce each nation
15   state, as a matter of international comity, to respect the independence and dignity of every
16   other, including our own.” (quotations and citations omitted)).
17         Plaintiffs bear the threshold burden of showing that one of the FSIA’s limited
18   exceptions applies. Meadows v. Dominican Republic, 817 F.2d 517, 522-23 (9th Cir.
19   1987). The exceptions are construed narrowly, consistent with the overall statutory
20   objective of preserving the sovereign immunity of foreign states. See, e.g., Schermerhorn
21   v. Israel, 876 F.3d 351, 358 (D.C. Cir. 2017) (“The FSIA is premised on ‘a presumption
22   of foreign sovereign immunity’ qualified only by a small number of ‘discrete and limited
23   exceptions.’” (citation omitted)); Sampson v. Fed. Republic of Germany, 250 F.3d 1145,
24   1155-56 (7th Cir. 2001) (any expansion of the FSIA exceptions bears “significantly on
25   sensitive foreign policy matters,” which “might have serious foreign policy
26   implications”). If Plaintiffs fail to meet their burden of proving one of these narrow
27   exceptions applies, the Court lacks both subject matter and personal jurisdiction over
28   Qatar. See 28 U.S.C. § 1330(a)-(b); Verlinden B.V. v .Cent. Bank of Nigeria, 461 U.S.
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 1   480, 489 & n.5 (1983) (FSIA provides personal jurisdiction only if subject matter
 2   jurisdiction exists and service of process has been made in accordance with the Act).
 3                                                ARGUMENT
 4   I.    This Court Lacks Subject Matter Jurisdiction over Qatar.
 5         Qatar is entitled to sovereign immunity under the FSIA, precluding subject matter
 6   jurisdiction in this action. Plaintiffs’ assertions that the noncommercial tort exception (28
 7   U.S.C. § 1605(a)(5)) and the commercial activity exception (28 U.S.C. § 1605(a)(2))
 8   apply are unsubstantiated and do not permit them to circumvent the fundamental
 9   sovereign immunity that the law provides to Qatar, like other foreign states.
10         A.       The Noncommercial Tort Exception Does Not Apply.
11         Plaintiffs rely primarily on the FSIA’s noncommercial tort exception, which
12   abrogates immunity only in actions:
13                  for personal injury or death, or damage to or loss of property,
14                  occurring in the United States and caused by the tortious act or
                    omission of that foreign state or of any official or employee of
15                  that foreign state while acting within the scope of his office or
16                  employment . . . .
17   28 U.S.C. § 1605(a)(5) (emphasis added).
18         Courts read this exception narrowly, consistent with the general presumption that
19   foreign states are entitled to sovereign immunity, and mindful that Congress’s immediate
20   objective in enacting the non-commercial exception was to “eliminate a foreign state’s
21   immunity for traffic accidents and other torts committed in the United States, for which
22   liability is imposed under domestic tort law.” Amerada Hess Shipping Corp., 488 U.S. at
23   439-40 (citing H.R. Rep. No. 94-1487, at 14, 20-21 (1976); S. Rep. No. 94-1310, at 14,
24   20-21 (1976) (emphasis added); U.S. Code Cong. & Admin. News 1976, pp. 6613,
25   6619)); see also MacArthur Area Citizens Ass’n v. Republic of Peru, 809 F.2d 918, 921
26   (D.C. Cir. 1987) (noting that the legislative history of the noncommercial tort exception
27   “counsels that the exception should be narrowly construed so as not to encompass the
28   farthest reaches of common law”); Asociacion de Reclamantes v. United Mexican States,

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 1   735 F.2d 1517, 1525 (D.C. Cir. 1984) (“We decline to convert [the noncommercial tort
 2   exception] into a broad exception for all alleged torts that bear some relationship to the
 3   United States.”).
 4                1.      Plaintiffs Have Failed to Allege an Entire Tort by the State of
 5                        Qatar Occurring in the United States.
 6         The noncommercial tort exception “makes no mention of ‘territory outside the
 7   United States’ or of ‘direct effects’ in the United States,” and thus Congress’ deliberate
 8   word choice indicates that the noncommercial tort exception “covers only torts occurring
 9   within the territorial jurisdiction of the United States.” Amerada Hess, 488 U.S. at 441;
10   accord Frolova v. Union of Soviet Socialist Republics, 761 F.2d 370, 379 (7th Cir. 1985).
11   The Ninth Circuit therefore instructs district courts to follow the “entire tort” rule, under
12   which plaintiffs must allege at least “one entire tort” occurring in the United States in
13   order to escape the immunity demanded by the FSIA. Olsen by Sheldon v. Government
14   of Mexico, 729 F.2d 641, 646 (9th Cir. 1984), abrogated on other grounds as stated in
15   Joseph v. Office of Consulate Gen. of Nigeria, 830 F.2d 1018, 1026 (9th Cir. 1987);
16   Alperin v. Vatican Bank, No. C-99-04941 MMC, 2007 WL 4570674, at *9 (N.D. Cal.
17   Dec. 27, 2007) (dismissing action where “plaintiffs have failed to show that ‘one entire
18   tort’ has occurred in the United States”), aff’d, 360 F. App’x 847 (9th Cir. 2009),
19   amended in part, 365 F. App’x 74 (9th Cir. 2010).
20         Doe v. Federal Democratic Republic of Ethiopia, 851 F.3d 7 (D.C. Cir. 2017), is
21   particularly instructive and confirms that under this narrow exception, “[t]he entire tort—
22   including not only the injury but also the act precipitating that injury—must occur in the
23   United States.” Id. at 10 (quoting Jerez v. Republic of Cuba, 775 F.3d 419, 424 (D.C.
24   Cir. 2014)). In Doe, the D.C. Circuit held that electronic espionage launched from a
25   foreign country “is a transnational tort” that does not fall within the FSIA’s
26   noncommercial tort exception. Doe, 851 F.3d at 11. Critically, “the software’s initial
27   dispatch [and] an intent to spy” were “integral aspects of the final tort which lay solely
28   abroad.” Id. “Ethiopia’s placement of the FinSpy virus on [the plaintiff’s] computer,

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 1   although completed in the United States when [the plaintiff] opened the infected e-mail
 2   attachment, began outside the United States.” Id. at 9. “The tort [the plaintiff] allege[d]
 3   thus did not occur ‘entirely’ in the United States.” Id. at 11.
 4         Here, too, Plaintiffs have failed to allege a tort occurring entirely in the United
 5   States. Each of the substantive torts alleged by Plaintiffs is premised on conduct that the
 6   Complaint alleges occurred outside the United States:
 7         Plaintiffs’ first, second, and sixth causes of action for violations of the Computer
 8   Fraud and Abuse Act, California Penal Code section 502, and the Stored
 9   Communications Act all require proof of “access.” See 18 U.S.C. §§ 1030(a)(2)(C),
10   (a)(5); Cal. Penal Code § 502; 18 U.S.C. § 2701(a); FAC ¶¶ 140-161, 188-193.
11   Plaintiffs’ third cause of action for a violation of California Penal Code section 496
12   requires establishing receipt of stolen property. Cal. Penal Code § 496. Plaintiffs’ fourth
13   cause of action for invasion of privacy by intrusion upon seclusion depends on a showing
14   of “intentional intrusion.” CACI No. 1800. Plaintiffs’ fifth cause of action for
15   conversion requires proof that the defendant “substantially interfered with the plaintiff’s
16   property by knowingly or intentionally taking possession” of the property. CACI No.
17   2100. Plaintiffs’ seventh cause of action for a violation of the Digital Millennium
18   Copyright Act depends on showing that the defendant “circumvent[ed] a technological
19   measure that effectively controls access” to a protected work. 17 U.S.C. § 1201(A); FAC
20   ¶¶ 194-201 (alleging that defendants “illegally accessed” networks and files). Plaintiffs’
21   eighth and ninth causes of action for a violation of the California Uniform Trade Secrets
22   Act and violation of the Defend Trade Secrets Act both require proof of
23   “misappropriation,” meaning “acquisition” or “disclosure.” Cal. Civ. Code § 3426.1; 18
24   U.S.C. § 1839(b)(5).
25         Plaintiffs’ allegations and expert testimony confirm that, under their theory of
26   liability, such alleged access, receipt, intrusion, interference, taking, circumventing, and
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 1   misappropriation all occurred from Qatar. 8 See supra at p.8 (citing Dkt. 31-5 ¶ 11
 2   (“individuals located in Qatar are responsible for the unauthorized activity identified in
 3   logs”)). The Complaint is crystal clear: every key alleged act—from GRA’s alleged
 4   establishment of a presence in Doha, to the IP address responsible for the hack, to the
 5   alleged dissemination of Broidy’s emails “abroad”—occurred outside the United States,
 6   making each alleged tort indisputably transnational. Indeed, as Plaintiffs themselves
 7   alleged in their Original Complaint, “[a]ccess to Plaintiffs’ personal accounts was
 8   achieved by unlawful hacking and stealing of personal data”—the same conduct
 9   allegedly traceable to a server in Qatar—and “[w]ithout these unlawful actions, Plaintiffs’
10   personal information would not have been made public.” OC ¶ 108. Simply put, the
11   essential factual predicate for all of Plaintiffs’ substantive causes of action is the alleged
12   hacking that originated outside the United States.
13          Plaintiffs’ tenth cause of action for Civil Conspiracy cannot save their claims. In
14   their TRO pleadings, Plaintiffs suggested that their civil conspiracy claim provided a way
15   around the “entire tort rule.” Dkt. 34 (Response ISO Plaintiffs’ TRO Application), at 2-
16   3. However, “[u]nder California law, there is no separate and distinct cause of action for
17

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       Plaintiffs concede their failure to plead an “entire tort” within the United States,
19   alleging merely for some causes of action that “at least some instances of the unlawful
     [conduct] occurred in the United States.” FAC ¶¶ 165, 171, 182. This is insufficient to
20   establish a jurisdictional exception under the FSIA for several reasons. First, the Court is
     entitled to reject “conclusory allegations based on nothing more than ‘information and
21   belief’ at the pleading stage.” Twombly, 550 U.S. at 557. Second, even if the Court
     credits these unsupported allegations, it is clear on the face of the FAC that those
22   instances were merely the continuation of purported conduct allegedly originating in
     Qatar and “do not demonstrate an independent tort occurring entirely within the United
23   States.” Greenpeace, Inc. v. State of France, 946 F. Supp. 773, 786 (C.D. Cal. 1996)
     (alleged unlawful detention of plaintiffs on French military and civil aircraft in Los
24   Angeles did not constitute entire tort in the United States, where detention was
     continuation of conduct begun outside of United States jurisdiction). The Greenpeace
25   court also rejected as erroneous Plaintiffs’ interpretation of Olsen by Sheldon v.
     Government of Mexico, 729 F.2d 641 (9th Cir. 1984), as permitting a court to exercise
26   jurisdiction over all tort causes of action alleged in a complaint “if any ‘entire tort’ took
     place in the United States” because “Olsen does not extend FSIA jurisdiction to tortious
27   conduct occurring overseas.” 946 F. Supp. at 785 (emphasis added).
28

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 1   civil conspiracy.” Entm’t Research Grp., Inc. v. Genesis Creative Grp., Inc., 122 F.3d
 2   1211, 1228 (9th Cir. 1997).
 3         Because civil conspiracy is not an independent tort, it cannot provide a basis for
 4   the application of the FSIA’s noncommercial tort exception in the absence of any other
 5   cause of action to which that exception is otherwise applicable. 9 Cf. Santa Fe Pac.
 6   Realty Corp. v. United States, 780 F. Supp. 687, 693 (E.D. Cal. 1991) (stating that
 7   because there is no separate tort of civil conspiracy under California law, if the
 8   underlying tort is subject to immunity under the Federal Tort Claims Act, “the conspiracy
 9   claim is likewise barred”). Since Plaintiffs’ substantive causes of action fail under the
10   “entire tort rule,” the sovereign State of Qatar “cannot be bootstrapped into tort liability
11   by the pejorative plea of conspiracy.” Applied Equip. Corp. v. Litton Saudi Arabia Ltd.,
12   869 P.2d 454, 459 (Cal. 1994). Nor can it be subjected to suit and deprived of its
13   sovereign immunity based solely on that claim. Plaintiffs’ attempted bootstrapping is
14   unavailing.
15                 2.     Even Assuming Arguendo the Noncommercial Tort Exception
16                        Applied, the Alleged Conduct Falls Within the FSIA’s
                          Discretionary Function Rule.
17
           In any event, the noncommercial tort exception only applies where, unlike here, the
18
     torts alleged do not involve the exercise of discretionary functions. The FSIA’s
19
     discretionary function rule is an independent, adequate ground for finding Qatar immune.
20
     It provides immunity for “any claim based upon the exercise or performance or the
21
     failure to exercise or perform a discretionary function regardless of whether the discretion
22
     be abused.” 28 U.S.C. § 1605(a)(5)(A).
23

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     9
26     Plaintiffs’ conspiracy claim also derives from the same set of alleged conduct
     originating in Qatar that gives rise to Plaintiffs’ substantive torts and thus is not “entirely”
27   within the United States either.
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 1         Courts undertake a two-part test to determine whether the discretionary function
 2   exception under the FSIA applies. The first inquiry asks whether the challenged action
 3   involved an element of choice or judgment, for it is clear that the discretionary function
 4   exception “will not apply when a federal statute, regulation, or policy specifically
 5   prescribes a course of action for an employee to follow.” Vickers v. United States, 228
 6   F.3d 944, 949 (9th Cir. 2000) (quoting Berkovitz by Berkovitz v. United States, 486 U.S.
 7   531, 536 (1988)). If choice or judgment is exercised, the second inquiry asks whether
 8   that choice or judgment is of the type Congress intended to exclude from liability—that
 9   is, whether the choice or judgment was one involving social, economic, or political
10   policy. See Vickers, 228 F.3d at 949.
11         Here, Plaintiffs have not alleged any “specific or mandatory” statute, regulation, or
12   policy that required any of the actions alleged in this case, all of which are purported to
13   be part of an information campaign—a clearly discretionary function. Compare Doe v.
14   Holy See, 557 F.3d 1066 (9th Cir. 2009) (claims barred as “discretionary judgments”
15   where there was no “specific and mandatory” policy governing retention of an allegedly
16   abusive priest and failure to warn others about his activities), with O’Bryan v. Holy See,
17   556 F.3d 361 (6th Cir. 2009) (discretionary function exception did not preclude claims
18   where an official 1962 legislative text imposing the highest level of secrecy on the
19   handling of clergy sexual abuse matters constituted a “policy”).
20         Plaintiffs’ allegations confirm that the type of discretionary acts at issue involved
21   policy considerations subject to the exception, including Qatar’s diplomatic relations with
22   the United States and its neighboring countries, as well as policy judgments involving
23   public relations. FAC ¶¶ 2-4, 14; see United States v. Varig Airlines, 467 U.S. 797, 811
24   (1984) (quoting Dalehite v. United States, 346 U.S. 15, 35-36 (1953)) (“[The
25   discretionary function exception] includes determinations made . . . in establishing plans,
26   specifications or schedules of operations. Where there is room for policy judgment and
27   decision there is discretion.”).
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 1                3.      The FSIA’s Rule Barring Claims Based on Misrepresentation or
 2                        Deceit Applies.

 3
           The noncommercial tort exception is inapplicable to Plaintiffs’ allegations for still

 4
     another reason: section 1605(a)(5)(B) of the FSIA explicitly excludes from the scope of

 5
     the noncommercial tort exception “any claim arising out of malicious prosecution, abuse

 6
     of process, libel, slander, misrepresentation, deceit, or interference with contractual

 7
     rights.” 28 U.S.C. § 1605(a)(5)(B) (emphasis added). In determining whether a claim

 8
     “arises out of” misrepresentation or deceit, courts look to whether the “wrongful acts

 9
     alleged to have caused the injury are misrepresentations,” Cabiri v. Gov’t of Republic of

10
     Ghana, 165 F.3d 193, 199 (2d Cir. 1999), or whether the claims “stem[] directly from

11
     misinformation.” O’Bryan v. Holy See, 556 F.3d 361, 388 (6th Cir. 2009). Plaintiffs’

12
     hacking allegations are the essential factual predicate for all of Plaintiffs’ substantive

13
     causes of action, see supra Section I.A.1, and Plaintiffs specifically allege that “the hack,

14
     and the resulting” effects, were achieved through misrepresentation and deceit. FAC ¶ 15

15
     (alleging that Defendants’ “spearphishing campaign” included “spoofing or otherwise

16
     obfuscating U.S.-assigned phone numbers to deceive,” “misappropriating trademarks,”

17
     and “fraudulently” registering websites). As a result, the misrepresentation or deceit rule

18
     applies to all of Plaintiffs’ causes of action.

19
           Moreover, to the extent Plaintiffs are alleging that Qatar “altered” or “doctored”

20
     Plaintiffs’ personal information, 10 such conduct also falls squarely within this rule.

21
     “[B]oth the Second and Ninth Circuits have dismissed claims against foreign sovereigns

22
     where the foreign sovereign allegedly provided false or misleading information”

23
     constituting misrepresentation or deceit. O’Bryan, 556 F.3d at 385 (citing Cabiri, 165

24
     10
25      It is unclear whether Plaintiffs are maintaining this claim in the FAC because a
     comparison of the FAC to the Original Complaint reveals that Plaintiffs have deleted all
26   allegations related to alteration and doctoring of data from the Statement of Facts.
     However, Plaintiffs have retained certain references to alteration and doctoring in their
27   causes of action. FAC ¶ 152, 171, 229.
28

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 1   F.3d 193 and Kozorowski v. Russian Fed’n, 124 F.3d 211 (9th Cir. 1997)). In Cabiri, for
 2   instance, the court concluded “with confidence” that Ghana enjoyed immunity for its
 3   failure to provide “full or truthful information”—“in essence” a misrepresentation
 4   claim—because “[t]he FSIA is not an enforcement mechanism for global freedom of
 5   information.” Cabiri, 165 F.3d at 199-200. Similarly here, to the extent Plaintiffs’
 6   claims rely on allegations of alteration or doctoring of Plaintiffs’ information, they fall
 7   outside the scope of the noncommercial tort exception pursuant to 28 U.S.C.
 8   § 1605(a)(5)(B).
 9         B.    The Commercial Activity Exception Does Not Apply.
10         Plaintiffs’ alternative theory, that the FSIA’s commercial activity exception set
11   forth in 28 U.S.C. § 1605(a)(2) applies, also fails. 11 First, the alleged conduct by Qatar
12   on which Plaintiffs rely for the applicability of this exception does not constitute
13   commercial activity within the meaning of Section 1605(a)(2). Second, even if the
14   alleged conduct is deemed to be commercial activity (which it is not), Plaintiffs’ claims
15   are not based on, or in connection with, that activity as required by the statutory
16   language. 12
17         For the purposes of the FSIA, “[t]he commercial character of an activity shall be
18   determined by reference to the nature of the course of conduct or particular transaction or
19   act, rather than by reference to its purpose.” 28 U.S.C. § 1603(d). “[T]he issue is
20

21   11
        Plaintiffs’ assertion in the FAC that the Court has jurisdiction under both the
22   noncommercial tort exception and the commercial activity exception is incorrect and fatal
     to their argument. By its plain language, the noncommercial tort exception only provides
23   jurisdiction in “case[s]… not otherwise encompassed” by the commercial activity
     exception. 28 U.S.C. § 1605(a)(5); De Letelier v. Republic of Chile, 748 F.2d 790, 795
24   (2d Cir. 1984) (noting that the language of the FSIA suggests that the commercial activity
     exception and the noncommercial tort exception are “mutually exclusive”).
     12
25      Plaintiffs have not specified which of the three grounds they are relying upon to claim
     an exception to immunity under Section 1605(a)(2). See FAC ¶ 31. All three bases for
26   the exception require a showing that Plaintiffs’ claims are “based upon a commercial
     activity” or are “based upon . . . an act . . . in connection with a commercial activity,”
27   which Plaintiffs have not established here. See 28 U.S.C. § 1605(a)(2).
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 1   whether the particular actions that the foreign state performs (whatever the motive behind
 2   them) are the type of actions by which a private party engages in trade and traffic or
 3   commerce.” Republic of Argentina v. Weltover, Inc., 504 U.S. 607, 614 (1992)
 4   (quotation omitted). Plaintiffs allege that, as part of an aggressive information and
 5   government relations campaign, Qatar and its alleged agents engaged in hacking and
 6   dissemination of the private information of a known critic of the State’s policies. FAC
 7   ¶¶ 88-92. These allegations postulate conduct that is fundamentally noncommercial in
 8   nature. Neither the broader information and government relations campaign nor the
 9   specific “black operation” that Plaintiffs recklessly impute to Qatar is the type of action
10   by which private, commercial enterprises typically engage in trade or commerce. As
11   such, it is not commercial activity that can justify the lifting of foreign sovereign
12   immunity.
13         That Qatar allegedly entered into contracts with its agents does not transform this
14   fundamentally noncommercial conduct into commercial activity within the meaning of
15   the FSIA. See, e.g., Weltover, 504 U.S. at 614 (looking beyond existence of a contract to
16   examine whether the conduct governed by the contract was commercial in nature); MOL,
17   Inc. v. Peoples Republic of Bangladesh, 736 F.2d 1326, 1327 (9th Cir. 1984) (finding an
18   agreement by Bangladesh to constitute a sovereign, not commercial, activity because the
19   agreement was one “that only a sovereign could have made”). And the allegation that
20   Qatar’s conduct was influenced by considerations of Qatar’s economic and international
21   trade policy, FAC ¶ 31, does not make the alleged conduct commercial, but instead
22   simply confirms the sovereign nature of the activities alleged.
23         Even if, contrary to the test set out by the Supreme Court in Weltover, the Court
24   were to deem the contracts alleged by Plaintiffs to be commercial activity, Plaintiff’s
25   alternative theory still fails. That is because Plaintiffs’ action is neither “based upon” nor
26   “in connection with” the contracts, as those terms have been interpreted in the case law.
27         An action is “based upon” a commercial activity for the purpose of Section
28   1605(a)(2) where the action relies on the activity for “those elements of a claim that, if
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 1   proven, would entitle plaintiffs to relief under their theory of the case.” Saudi Arabia v.
 2   Nelson, 507 U.S. 349, 357 (1993). As the Ninth Circuit has explained, “[t]he commercial
 3   activity relied upon . . . to establish jurisdiction must be the activity upon which the
 4   lawsuit is based. The focus must be solely upon those specific acts that form the basis of
 5   the suit.” Am. W. Airlines, Inc. v. GPA Grp., Ltd., 877 F.2d 793, 796-97 (9th Cir. 1989)
 6   (quotation, emphasis, and citation omitted); see also OBB Personenverkehr AG v. Sachs,
 7   136 S. Ct. at 396 (suit not “based upon” the purchase of the rail pass because “[a]ll of
 8   [plaintiff’s] claims turn[ed] on the same tragic episode in Austria,” which was the
 9   “foundation” of her suit); cf. Egypt v. Lasheen, 603 F.3d 1166, 1171 (9th Cir. 2010)
10   (holding that plaintiff’s claim was “based upon” the alleged breach of an agreement
11   because the breach determined whether the plaintiff was entitled to relief).
12         Plaintiffs’ action is not “based upon” commercial activity, because Qatar’s
13   purported contractual arrangements with third parties do not give rise to any right to relief
14   by Plaintiffs and are merely incidental to Plaintiffs’ claims. Plaintiffs are not parties to
15   the alleged contracts and do not seek to enforce them. Nor do they claim any injury
16   resulting from the contractual arrangements alone.
17         Courts have held that the phrase “in connection with” has a narrow meaning within
18   the FSIA. See Garb v. Republic of Poland, 440 F.3d 579, 587 (2d Cir. 2006). To
19   establish that an action is “in connection with” commercial activity, the acts complained
20   of must have “some ‘substantive connection’ or a ‘causal link’ to the commercial
21   activity.” Adler v. Nigeria, 107 F.3d 720, 726 (9th Cir. 1997) (citing Fed. Ins. Co. v.
22   Richard I. Rubin & Co., 12 F.3d 1270, 1289-91 (3d Cir. 1993)). Courts have generally
23   found a substantive connection or causal link to commercial activity for the purpose of
24   Section 1605(a)(2) where the plaintiffs were a party to or received rights under a contract
25   or agreement at issue in the case. See, e.g., Odhiambo v. Kenya, 764 F.3d 31, 38 (D.C.
26   Cir. 2014) (finding plaintiff’s claim based upon Kenya’s breach of contract to be “in
27   connection with” the underlying commercial activity, a monetary rewards program under
28   which plaintiff claimed rights, but dismissing case on other grounds); Southway v. Cent.
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 1   Bank of Nigeria, 198 F.3d 1210, 1217-18 (10th Cir. 1999) (plaintiffs’ contracts with
 2   defendant alleged to be part of a RICO conspiracy); Adler, 107 F.3d 720 at 726.
 3         In contrast, tortious conduct rarely satisfies the requirements of the commercial
 4   activity exception. See e.g., Fed. Ins. Co. v. Richard I. Rubin & Co., 12 F.3d 1270, 1291
 5   (3d Cir. 1993) (causes of action are not substantively in connection with, or based on,
 6   commercial activity where the claims are “primarily tort-based and do not include a
 7   breach of contract allegation”); Doe v. Holy See, 434 F. Supp. 2d 925, 942 (D. Or. 2006)
 8   (rejecting application of the commercial activity exception where “plaintiff’s complaint
 9   does not allege . . . any . . . theory whose true essence is commercial” but rather “sound[s]
10   in tort”); O’Bryan, 556 F.3d at 380 (noting that “the gravamen of plaintiffs’ claims is the
11   tortious conduct of priests” and thus allowing jurisdiction under the commercial activity
12   exception would be an inappropriate “semantic ploy”). Here, Plaintiffs are not claiming
13   breach of contract or “any theory whose true essence is commercial,” nor do Plaintiffs’
14   causes of action “stem from” the alleged commercial activity. Because any connection
15   between Plaintiffs’ claims and Qatar’s commercial contracts is so attenuated, Plaintiffs’
16   claims are not “substantively connected” to the alleged underlying commercial activity,
17   and the commercial activity exception does not apply.
18   II.   Plaintiffs Cannot Establish Personal Jurisdiction over the State of Qatar.
19         The FSIA conditions personal jurisdiction over foreign states on the existence of
20   subject matter jurisdiction plus effective service. Cassirer v. Kingdom of Spain, 461 F.
21   Supp. 2d 1157, 1166 (C.D. Cal. 2006), aff’d in part and rev’d in part, 616 F.3d 1019,
22   1037 (9th Cir. 2010) (affirming district court’s analysis of personal jurisdiction). As
23   explained above, subject matter jurisdiction is lacking because no exception to the FSIA
24   applies. See Helmerich & Payne, 137 S. Ct. at 1317 (“[A] court lacks ‘subject-matter’
25   and ‘personal’ jurisdiction over a foreign sovereign unless an FSIA exception applies.”).
26   Absent a valid basis for exercising subject matter jurisdiction, personal jurisdiction is
27   likewise lacking.
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 1   III.     Qatar Is a Necessary Party and Therefore the Entire Case Must Be Dismissed.
 2            Qatar’s sovereign immunity requires dismissal of the FAC in its entirety because
 3   Qatar is a necessary party under Rule 19 but the State’s joinder is statutorily forbidden
 4   under the FSIA. The Supreme Court has held that “where sovereign immunity is
 5   asserted, and the claims of the sovereign are not frivolous, dismissal of the action must be
 6   ordered where there is a potential for injury to the interests of the absent
 7   sovereign.” Republic of Philippines v. Pimentel, 553 U.S. 851, 867 (2008); see also
 8   Samantar v. Yousuf, 560 U.S. 305, 324-25 (2010) (quoting Pimentel and observing that if
 9   “the entity is immune from suit under the FSIA, the district court may have to dismiss the
10   suit, regardless of whether [an individual] official is immune or not under the common
11   law”).
12            In applying Pimentel, courts look to Rule 19 of the Federal Rules of Civil
13   Procedure. Under Rule 19(a), a party is necessary (1) if the court cannot accord complete
14   relief in its absence, or (2) if, without its presence, its interests in the subject matter are
15   not protected. Fed. R. Civ. P. 19(a). Under Rule 19(b), “[i]f a person who is required to
16   be joined if feasible cannot be joined, the court must determine whether, in equity and
17   good conscience, the action should proceed among the existing parties or should be
18   dismissed.” Fed. R. Civ. P. 19(b). Here, Qatar is a necessary party under Rule 19(a), but
19   equitable considerations, which prominently include Qatar’s sovereign immunity, weigh
20   strongly against allowing the case to proceed as against the other parties.
21            First, a plain review of the FAC’s allegations reveals that the Court cannot afford
22   complete relief—if indeed any relief were warranted—in Qatar’s absence. See Fed. R.
23   Civ. P. 19(a)(1)(A). The primary relief Plaintiffs seek is an injunction to prohibit Qatar
24   from, inter alia, accessing Plaintiffs’ protected computers without authorization,
25   accessing and altering data on Plaintiffs’ computers and networks, and receiving
26   unlawfully obtained communications from Plaintiffs. See, e.g., FAC ¶¶ 140-148, 150-
27   160, 162-167. However, an absent party cannot be bound by any such injunction, making
28   it impossible for the court to afford complete relief. Dawavendewa v. Salt River Project
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 1   Agric. Improvement & Power Dist., 276 F.3d 1150, 1155-56 (9th Cir. 2002) (upholding
 2   dismissal of complaint when complete relief could not be afforded because the absent
 3   necessary party would not be bound by the requested injunctive relief); see also Friends
 4   of Amador Cty. v. Salazar, No. 11-17996, 2011 WL 4709883, at *2-3 (E.D. Cal. Oct. 4,
 5   2011), aff’d, 554 F. App’x 562 (9th Cir. 2014) (dismissing action against all parties when
 6   the court could not provide complete relief when the requested injunction “if granted,
 7   would fail to bind all absent parties who are in a position to act in direct contravention of
 8   that remedy”).
 9         Second, Qatar’s interests, immunities, and rights would be undermined in its
10   absence. Dawavendewa, 276 F.3d at 1155. Plaintiffs’ discovery against other parties
11   seeks materials exchanged between Qatar and its agents regarding sensitive matters of
12   foreign policy. Further, discovery against other defendants would necessarily implicate
13   Qatar’s immunity protections under the Vienna Conventions. 13 If discovery continues
14   against other defendants, Qatar will be required to object to and litigate requests for
15   information that elicit its protected information or risk having its interests adjudicated
16   completely in its absence.
17         Because both Rule 19(a) considerations are fulfilled, Qatar is a required party.
18   Thus, Rule 19(b) directs the Court to further consider whether “in equity and good
19   conscience, the action should proceed among the existing parties or should be
20   dismissed.” Pimentel, 533 U.S. at 862. This analysis balances four factors: “(1) the
21   prejudice to any party or to the absent party; (2) whether relief can be shaped to lessen
22   prejudice; (3) whether an adequate remedy, even if not complete, can be awarded without
23
     13
24     The Vienna Convention on Consular Relations provides that “[t]he archives and
     documents of the mission shall be inviolable at any time and wherever they may be.”
25   Vienna Convention on Diplomatic Relations, art. 24, Apr. 18, 1961, 23 U.S.T. 3227, 500
     U.N.T.S. 95. The Vienna Convention on Consular Relations likewise states that
26   “consular archives and documents shall be inviolable at all times and wherever they may
     be.” Vienna Convention on Consular Relations, art 33, Apr. 24, 1963, 21 U.S.T. 77, 596
27   U.N.T.S. 261.
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 1   the absent party; and (4) whether there exists an alternative forum.” Dawavendewa, 276
 2   F.3d at 1161-62.
 3         In cases involving sovereign immunity, the Supreme Court has recognized that
 4   when addressing the first factor, it must give full effect to sovereign immunity and
 5   promote the “[c]omity and dignity interests” of the absent sovereign. Pimentel, 533 U.S.
 6   at 866. Indeed, under the first factor, the Court should take into account the potential
 7   prejudice against any party, but it must “accord proper weight to the compelling claim of
 8   sovereign immunity.” Id. at 869; see also Delano Farms Co. v. Cal. Table Grape
 9   Comm’n, 623 F. Supp. 2d 1144, 1168 (E.D. Cal. 2009) (“[W]here the absent party cannot
10   be joined in light of sovereign immunity, ‘there may be very little need for balancing. . .
11   because immunity itself may be viewed as the compelling factor.”) (citing Kescoli v.
12   Babbitt, 101 F.3d 1304, 1311 (9th Cir. 1996)). Thus, Qatar’s immunity weighs in favor
13   of dismissal under Rule 19(b).
14         The other 19(b) factors also weigh in favor of dismissal. As to the second factor,
15   there is no judgment that could be tailored to eliminate prejudice to the absent sovereign,
16   so this factor weighs in favor of dismissal. Delano Farms, 623 F. Supp. 2d at 1169.
17   Indeed, any relief granted for Plaintiffs against Qatar’s alleged agents working on its
18   behalf would necessarily prejudice Qatar. The third factor, whether adequate relief can
19   be awarded without the absent party, also weighs in favor of dismissal. Any judgment
20   rendered without Qatar would not be adequate, as explained above, and going forward
21   with an action that does not bind the non-parties does not further the public interest in
22   settling the dispute as a whole. Pimentel, 533 U.S. at 870-71. The fourth factor takes
23   into account whether an alternative forum exists. Even if Plaintiffs argue that the
24   dismissal of the entire action would leave them without an alternative forum and
25   therefore without an adequate remedy, this result is “contemplated under the doctrine of
26   foreign sovereign immunity,” and the potential prejudice to Plaintiffs is “outweighed by
27   prejudice to absent entities invoking sovereign immunity.” Id. at 872. Thus, under
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 1   Pimentel and Rule 19, the operation of the FSIA to deprive the Court of jurisdiction over
 2   Qatar requires dismissing not just Qatar, but the FAC as a whole.
 3                                                    ***
 4         Qatar’s sovereign interests in this case lie at the heart of the FSIA’s fundamental
 5   purpose: protecting sovereign functions from harassment by private litigants. These
 6   interests are especially important here given Qatar’s close alliance with the United States.
 7   Even setting aside Qatari-U.S. relations, upholding sovereign immunity in this case—
 8   where a foreign government is haled into court based only on its pursuit of a legitimate
 9   diplomatic campaign—is crucial to fostering respect and reciprocal treatment of the
10   United States government in courts abroad.
11         In this case, Plaintiffs seek to utilize a thinly-pled complaint, regarding an alleged
12   theft of emails, as a vehicle for broad, wide-ranging discovery into Qatar’s diplomatic,
13   political, and highly-sensitive national security-related affairs—all of which is more
14   relevant to advancing Broidy’s own lobbying efforts than to any of his hacking claims.
15   The FSIA squarely prohibits such unwarranted intrusion into intergovernmental relations.
16                                      CONCLUSION
17         For the foregoing reasons, Defendant State of Qatar respectfully requests that the

18   Court uphold the fundamental purposes of the FSIA by dismissing with prejudice

19   Plaintiffs’ First Amended Complaint in its entirety.

20

21
     Dated: June 27, 2018                             Respectfully submitted,

22                                                    COVINGTON & BURLING LLP
23

24                                                    By: /s/ Mitchell A. Kamin
25                                                         MITCHELL A. KAMIN
                                                           Attorneys for Defendant State of Qatar
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